EXHIBIT A
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PDV USA, INC.,                                           Case No. 20-cv-03699 (JGK)

                   Plaintiff,
 v.

 INTERAMERICAN CONSULTING, INC.,

                   Defendant.


                                DEFENDANT’S PRIVILEGE LOG

        Defendant, INTERAMERICAN CONSULTING, INC., by and through its undersigned

counsel, under Local Civil Rule 26.2, hereby submits the following privilege log to Plaintiff, PDV

USA, Inc., in conjunction with its Responses to Requests for Production.

  Type of           Subject Matter           Date of          Author         Addressee(s)     Privilege
 Document                                   Document                                          Asserted

Email           Nuevas    Instrucciones 9/19/18            David Rivera     Jeff Feldman      Attorney
                Bancarias y Factura                                                           -Client
                Final

Email           Fwd: re: [EXT] RE: 12/28/18                David Rivera     Jeff Feldman      Attorney
                [EXT]           Nuevas                                                        -Client
                Instrucciones Bancarias
                y Factura Final

Email           Fwd: re: [EXT] RE: 12/31/18                David Rivera     Jeff Feldman      Attorney
                [EXT]           Nuevas                                                        -Client
                Instrucciones Bancarias
                y Factura Final

Email           Fwd:            Nuevas 1/31/19             David Rivera     Jeff Feldman      Attorney
                Instrucciones Bancarias                                                       -Client
                y Factura Final
  Type of       Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                             Document                                  Asserted

Email       Fwd:      Interamerican 5/23/19      David Rivera   Jeff Feldman    Attorney
            Consulting Contract                                                 -Client
                                                                                and
                                                                                Work
                                                                                Product

Email       Fwd:         Facturacion 7/19/19     David Rivera   Jeff Feldman    Attorney
            Pendiente                                                           -Client

Email       Re: FARA Counsel         6/15/20     David Rivera   Matthew         Attorney
                                                                Sanderson       -Client

Email       Re: FARA Counsel         6/15/20     David Rivera   Matthew         Attorney
                                                                Sanderson       -Client

Email       Re: FARA Counsel         6/15/20     David Rivera   Matthew         Attorney
                                                                Sanderson       -Client

Email       Re: FARA Counsel         6/15/20     David Rivera   Matthew         Attorney
                                                                Sanderson       -Client

Email       Retainer          Letter 8/24/20     David Rivera   Jeff Feldman, Attorney
            Signature Page                                      David Hecht, -Client
                                                                Lee Boyd and
                                                                Inirida
                                                                Cervantes

Email       RE: Draft MTD brief      9/27/20     David Rivera   Jeff Feldman    Attorney
                                                                                -Client

Email       Fwd: Documento de 9/27/20            David Rivera   Jeff Feldman    Attorney
            Cesion – Contrato de                                                -Client
            Servicios Profesionales
            de Consultoria

Email       PDVSA              DOJ 11/2/20       David Rivera   Jeff Feldman    Attorney
            Investigations                                                      -Client
                                                                                and
                                                                                Work
                                                                                Product

Email       Great Wine               12/25/20    David Rivera   Jeff Feldman Attorney
                                                                and    Susan -Client
                                                                Latham


                                         2
  Type of         Subject Matter          Date of      Author        Addressee(s)     Privilege
 Document                                Document                                     Asserted

Email         PDVSA Ad Hoc Board 1/19/21            David Rivera    Lori    Weems Attorney
              Enabling Statute                                      Evers         -Client

Email         RE: FARA Counsel          1/28/21     David Rivera    Matthew           Attorney
                                                                    Sanderson         -Client

Email         Contingency               1/28/21     David Rivera    Jeffrey Shapiro   Attorney
              Agreements                                                              -Client

Email         RE: FARA Counsel          1/28/21     David Rivera    Matthew           Attorney
                                                                    Sanderson         -Client

Email         RE: Response Thoughts     2/3/21      David Rivera    Jeff Feldman      Attorney
                                                                                      -Client

Email         Draft Counter-claim       8/16/21     David Rivera    Ralph Patino      Attorney
                                                                                      -Client

Email         Fwd: Draft       Counter- 8/18/21     David Rivera    Ralph Patino      Attorney
              claim                                                                   -Client

Text Message Attorney-Privileged        Undated     Raul Gorrin     David Rivera      Attorney
             Communication                                                            -Client
                                                                    Josh Goodman

Email         Re:                Email 7/17/21      Esther Nuhfer   David Rivera      Attorney
              Documentation                                                           -Client

Email         Re:                Email 7/17/21      David Rivera    Esther Nuhfer     Attorney
              Documentation                                                           -Client

Email         Citgo Law Suit            10/16/20    David Rivera    Esther Nuhfer     Attorney
                                                                                      -Client

Email         Fwd: RE: [EXT] RE: 12/28/18           David Rivera    Jeff Feldman Attorney
              [EXT]           Nuevas                                and    Esther -Client
              Instrucciones Bancarias                               Nuhfer
              y Factura Final

Email         Fwd: RE: [EXT] RE: 12/30/18           David Rivera    Esther Nuhfer     Attorney
              [EXT]           Nuevas                                                  -Client
              Instrucciones Bancarias
              y Factura Final




                                            3
  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       Fwd:      Interamerican 2/18/19     David Rivera   Jeff Feldman Attorney
            Consulting Contract                                and    Esther -Client
                                                               Nuhfer

Email       FW: 1 New Docket 11/25/20           Lori Weems David Rivera        Attorney
            Entry for PDV USA,                  Evers                          -Client
            Inc. v. Interamerican
            Consulting Inc. (1:20-
            cv-03699)

Email       Fraud         Remedies 1/22/21      Lori Weems David Rivera        Attorney
            Checklist (TX)                      Evers                          -Client

Email       RE: How did we forget 1/23/21       Lori Weems David Rivera        Attorney
            to mention the attached             Evers                          -Client
            to me?

Email       2021-01-25 PDV USA 1/29/21          Lori Weems David Rivera        Attorney
            Memorandum of Law in                Evers                          -Client
            Opp Mtn to Strike
            Allegations

Email       Fwd:      Re:    PDV 11/13/20       David Rivera   Lori    Weems Attorney
            USA/Citgo      Lawsuit                             Evers         -Client
            Representation

Email       Re: Draft Affirmative 8/16/21       David Rivera   Lori    Weems Attorney
            Defenses                                           Evers         -Client

Email       PDV USA/Citgo           6/15/20     David Rivera   Lori    Weems Attorney
                                                               Evers         -Client
                                                                             and
                                                                             Work
                                                                             Product

Email       FW: PDV USA         v. 6/10/20      David Rivera   Lori    Weems Attorney
            Interamerican                                      Evers         -Client
                                                                             and
                                                                             Work
                                                                             Product




                                        4
  Type of      Subject Matter        Date of      Author       Addressee(s)   Privilege
 Document                           Document                                  Asserted

Email       Re: FW: PDV USA v. 6/10/20         David Rivera   Lori Evers      Attorney
            Interarmerican                                                    -Client
                                                                              and
                                                                              Work
                                                                              Product

Email       Fwd: PDV USA, Inc. v. 5/15/20      David Rivera   Lori Evers      Attorney
            Interamerican                                                     -Client
            Consulting Inc.

Email       Fwd: Rivera/PDV USA 5/15/20        David Rivera   Lori Evers      Attorney
            – Consulting Agreement                                            -Client

Email       Re: Pre-Motion Hearing 10/16/20    Lori Evers     David Rivera    Attorney
            Transcript                                                        -Client

Email       Lori Comments          12/17/20    David Rivera   Lori    Weems Attorney
                                                              Evers         -Client

Email       Re: Pre-Motion Hearing 10/16/20    David Rivera   Lori Evers      Attorney
            Transcript                                                        -Client

Email       RE: PDV – Confidential 5/19/20     David Rivera   Tucker    Byrd Attorney
            Communication                                     and            -Client
                                                              batista007@aol
                                                              .com

Email       Fwd: FW: PDV USA v. 12/7/21        David Rivera   Esther Nuhfer   Attorney
            Interamerican (20-cv-                                             -Client
            03699-JGK)

Email       Fwd: FW: PDV USA v. 12/9/21        David Rivera   Alex at Sushi Attorney
            Interamerican (20-cv-                             Sake Miami    -Client
            03699-JGK)

Email       Fwd: RE: Court Filings 9/5/21      David Rivera   Esther Nuhfer   Attorney
            – PDV USA, Inc. v.                                                -Client
            Interamerican
            Consulting Inc. – Case
            1:20-cv-03699-JGK




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  Type of      Subject Matter          Date of      Author         Addressee(s)   Privilege
 Document                             Document                                    Asserted

Email       Fwd:                     9/1/21      David Rivera     Drive056@fiu.   Attorney
            Interamerican/PDV                                     edu             -Client
            USA; Initial Disclosures
            and           Document
            Production

Email       RE: PDV USA/Citgo 9/25/20            Michael       E. David Rivera    Attorney
            Legal Representation                 DeLarco                          -Client

Email       RE: PDV USA/Citgo 9/25/20            Howard           David Rivera    Attorney
            Legal Representation                 Magaliff                         -Client

Email       RE: PDV USA/Citgo 9/25/20            Daniel Gildin    David Rivera, Attorney
            Legal Representation                                  David      E. -Client
                                                                  Robbins  and
                                                                  David      J.
                                                                  Kaufmann

Email       RE: PDV USA/Citgo 9/25/20            Greg Wolfe       David Rivera    Attorney
            Legal Representation                                                  -Client

Email       RE: PDV USA/Citgo 9/27/20            Howard           David Rivera    Attorney
            Legal Representation                 Magaliff                         -Client

Email       RE: PDV USA/Citgo 9/28/20            Daniel Gildin    David Rivera    Attorney
            Legal Representation                                                  -Client

Email       RE: PDV USA/Citgo 9/29/20            Daniel Gildin    David Rivera    Attorney
            Legal Representation                                                  -Client

Email       RE: PDV USA/Citgo 9/29/20            Howard           David Rivera    Attorney
            Legal Representation                 Magaliff                         -Client

Email       RE: PDV USA/Citgo 9/29/20            Bryce Jones      David Rivera    Attorney
            Legal Representation                                                  -Client

Email       RE: PDV USA/Citgo 9/30/20            Bryce Jones      David Rivera    Attorney
            Legal Representation                                                  -Client

Email       RE: PDV USA/Citgo 10/13/20           Lauren           David Rivera    Attorney
            Legal Representation                 Weinstein                        -Client

Email       RE: PDV USA/Citgo 10/16/20           Howard           David Rivera    Attorney
            Legal Representation                 Magaliff                         -Client


                                         6
  Type of      Subject Matter     Date of      Author       Addressee(s)    Privilege
 Document                        Document                                   Asserted

Email       RE: PDV USA/Citgo 10/16/20      Jason          David Rivera     Attorney
            Legal Representation            Solotaroff                      -Client

Email       RE: PDV USA/Citgo 10/22/20      Bryce Jones    David Rivera     Attorney
            Legal Representation                                            -Client

Email       RE: PDV USA/Citgo 11/2/20       Howard         David Rivera     Attorney
            Legal Representation            Magaliff                        -Client

Email       RE: PDV USA/Citgo 11/6/20       Lauren         David Rivera     Attorney
            Legal Representation            Weinstein                       -Client

Email       RE: PDV USA/Citgo 1/14/21       Howard         David Rivera     Attorney
            Legal Representation            Magaliff                        -Client

Email       RE: PDV USA/Citgo 1/15/21       Howard         David Rivera     Attorney
            Legal Representation            Magaliff                        -Client

Email       RE: PDV USA/Citgo 1/19/21       Howard         David Rivera     Attorney
            Legal Representation            Magaliff                        -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Megan Siddall    Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Laura            Attorney
            Representation                                 Weinstein        -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Greg Wolfe       Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Jacob Alderice   Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Hannah Waite     Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Gabriela         Attorney
            Representation                                 Bersuder         -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Kade Olsen       Attorney
            Representation                                                  -Client




                                    7
  Type of      Subject Matter     Date of      Author       Addressee(s)    Privilege
 Document                        Document                                   Asserted

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   John Thompson Attorney
            Representation                                 and       J.R. -Client
                                                           Skrabanek

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Bryce Jones      Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 6/15/20     David Rivera   Adam             Attorney
            Representation                                 Kaufmann         -Client

Email       RE: PDV USA/Citgo 6/15/20       David Rivera   Bryce Jones      Attorney
            Legal Representation                                            -Client

Email       RE: PDV USA/Citgo 6/16/20       David Rivera   Bryce Jones      Attorney
            Legal Representation                                            -Client

Email       RE: PDV USA/Citgo 6/16/20       David Rivera   Greg Wolfe       Attorney
            Legal Representation                                            -Client

Email       RE: PDV USA/Citgo 6/16/20       David Rivera   Lauren           Attorney
            Legal Representation                           Weinstein        -Client

Email       RE: PDV USA/Citgo 6/17/20       David Rivera   Lauren           Attorney
            Legal Representation                           Weinstein        -Client

Email       RE: PDV USA/Citgo 6/18/20       David Rivera   Greg Wolfe       Attorney
            Legal Representation                                            -Client

Email       PDV USA/Citgo Legal 7/15/20     David Rivera   William Dreyer   Attorney
            Representation                                                  -Client

Email       PDV USA/Citgo Legal 7/15/20     David Rivera   Todd             Attorney
            Representation                                 Wengrovsky       -Client

Email       Re: PDV USA/Citgo 7/16/20       David Rivera   Bryce Jones      Attorney
            Legal Representation                                            -Client

Email       RE: PDV USA/Citgo 9/25/20       David Rivera   Greg Wolfe       Attorney
            Legal Representation                                            -Client

Email       Re: PDV USA/Citgo 9/29/20       David Rivera   Bryce Jones      Attorney
            Lawsuit Representation                                          -Client




                                    8
  Type of      Subject Matter      Date of      Author       Addressee(s)    Privilege
 Document                         Document                                   Asserted

Email       Re: PDV USA/Citgo 9/29/20        David Rivera   Bryce Jones      Attorney
            Lawsuit Representation                                           -Client

Email       Re: PDV USA/Citgo 9/30/20        David Rivera   Bryce Jones      Attorney
            Lawsuit Representation                                           -Client

Email       RE: PDV USA/Citgo 10/12/20       David Rivera   Lauren           Attorney
            Lawsuit Representation                          Weinstein        -Client

Email       RE: PDV USA/Citgo 10/13/20       David Rivera   Lauren           Attorney
            Lawsuit Representation                          Weinstein        -Client

Email       RE: PDV USA/Citgo 10/16/20       David Rivera   Lauren           Attorney
            Lawsuit Representation                          Weinstein        -Client

Email       RE: PDV USA/Citgo 10/16/20       David Rivera   Bryce Jones      Attorney
            Lawsuit Representation                                           -Client

Email       Fwd:      Re:    PDV 11/13/20    David Rivera   Lori      Weems Attorney
            USA/Citgo      Lawsuit                          Evers           -Client
            Representation

Email       Re: PDV USA/Citgo 11/13/20       David Rivera   Lauren           Attorney
            Lawsuit Representation                          Weinstein        -Client

Email       PDV USA/Citgo Legal 6/15/20      David Rivera   Ronald Meltzer Attorney
            Representation                                  and Reginald -Client
                                                            Brown

Email       PDV USA/Citgo Legal 6/15/20      David Rivera   George           Attorney
            Representation                                  Conway           -Client

Email       PDV USA/Citgo Legal 6/15/20      David Rivera   Michael          Attorney
            Representation                                  Delarco          -Client

Email       RE: PDV USA/Citgo 9/25/20        David Rivera   Michael          Attorney
            Legal Representation                            DeLarco          -Client

Email       PDV USA/Citgo Legal 9/25/20      David Rivera   David Schwartz Attorney
            Representation                                                 -Client

Email       PDV USA/Citgo Legal 9/25/20      David Rivera   Joseph           Attorney
            Representation                                  Tacopina         -Client




                                     9
  Type of      Subject Matter     Date of      Author       Addressee(s)   Privilege
 Document                        Document                                  Asserted

Email       PDV USA/Citgo Legal 9/25/20     David Rivera   Howard          Attorney
            Representation                                 Magaliff        -Client

Email       PDV USA/Citgo Legal 9/25/20     David Rivera   Daniel Gildn Attorney
            Representation                                 and    David -Client
                                                           Kaufmann

Email       PDV USA/Citgo Legal 9/25/20     David Rivera   Daniel Gildin Attorney
            Representation                                 and    David -Client
                                                           Kaufmann

Email       PDV USA/Citgo Legal 9/25/20     David Rivera   Marc Rapaport   Attorney
            Representation                                                 -Client

Email       PDV USA/Citgo Legal 9/25/20     David Rivera   Oren Giskan, Attorney
            Representation                                 Jason        -Client
                                                           Solotaroff,
                                                           Catherine
                                                           Anderson

Email       PDV/USA Citgo Legal 9/25/20     David Rivera   Adam Klein      Attorney
            Representation                                                 -Client

Email       RE: PDV USA/Citgo 9/26/20       David Rivera   Daniel Gildin Attorney
            Legal Representation                           and    David -Client
                                                           Kaufmann

Email       RE: PDV USA/Citgo 9/26/20       David Rivera   Howard          Attorney
            Legal Representation                           Magaliff        -Client

Email       RE: PDV USA/Citgo 9/27/20       David Rivera   Howard          Attorney
            Legal Representation                           Magaliff        -Client

Email       Re: PDV USA/Citgo 9/28/20       David Rivera   Daniel Gildin   Attorney
            Legal Representation                                           -Client

Email       RE: PDV USA/Citgo 9/29/20       David Rivera   Howard          Attorney
            Legal Representation                           Magaliff        -Client

Email       RE: PDV USA/Citgo 10/16/20      David Rivera   Howard          Attorney
            Legal Representation                           Magaliff        -Client

Email       Re: PDV USA/Citgo 10/17/20      David Rivera   Jason           Attorney
            Legal Representation                           Solotaroff      -Client


                                    10
  Type of      Subject Matter        Date of      Author        Addressee(s)   Privilege
 Document                           Document                                   Asserted

Email       RE: PDV USA/Citgo 1/15/21          David Rivera    Howard          Attorney
            Legal Representation                               Magaliff        -Client

Email       Fwd:     RE:     PDV 1/19/21       David Rivera    Lori    Weems Attorney
            USA/Citgo        Legal                             Evers         -Client
            Representation

Email       RE: PDV USA         v. 9/29/20     Daniel Gildin   David Rivera    Attorney
            Interamerican                                                      -Client

Email       FW: PDV USA         v. 10/2/20     Daniel Gildin   David Rivera    Attorney
            Interamerican                                                      -Client

Email       RE: FW: PDV USA v. 10/12/20        Daniel Gildin   David Rivera    Attorney
            Interamerican                                                      -Client

Email       RE: FW: PDV USA v. 10/16/20        Daniel Gildin   David Rivera    Attorney
            Interamerican                                                      -Client

Email       RE: PDV USA         v. 5/22/20     David Rivera    Louis Fogel     Attorney
            Interamerican                                                      -Client
            Consulting

Email       Fwd: Rivera/PDV USA 5/18/20        David Rivera    Len.Collins@g   Attorney
            – Consulting Agreement                             mail.com        -Client

Email       Fwd: PDV USA, Inc. v. 5/18/20      David Rivera    Felix Lasarte   Attorney
            Interamerican                                                      -Client
            Consulting Inc.

Email       Re: FW: PDV USA v. 10/2/20         David Rivera    Daniel Gildin   Attorney
            Interamerican                                                      -Client

Email       Re: FW: PDV USA v. 10/12/20        David Rivera    Daniel Gildin   Attorney
            Interamerican                                                      -Client

Email       Re: FW: PDV USA v. 10/16/20        David Rivera    Daniel Gildin   Attorney
            Interamerican                                                      -Client

Email       Re:     PDV       USA 1/26/21      Lee Boyd        David Rivera, Attorney
            Opposition to Motions                              Jeff Feldman -Client
            to Dismiss/Strike                                  and    David
                                                               Hecht



                                      11
  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       FW: Activity in Case 8/3/21         Lee Boyd       David   Rivera Attorney
            1:20-cv-03699-JGK                                  and     David -Client
            PDV USA, Inc. v.                                   Hecht
            Interamerican
            Consulting Inc. Motion
            for Extension of Time to
            File Answer

Email       Re: Retainer     Letter 8/24/20     David Hecht    David Rivera, Attorney
            Signature Page                                     Jeff Feldman, -Client
                                                               Lee      Boyd,
                                                               Inirida
                                                               Cervantes and
                                                               Selina Kyle

Email       FW: PDV USA         v. 10/21/20     Lee Boyd       David Rivera, Attorney
            Interamerican                                      Jeff Feldman -Client
                                                               and    David
                                                               Hecht

Email       Re: PDV USA         v. 10/21/20     David Rivera   Lee Boyd, Jeff Attorney
            Interamerican                                      Feldman and -Client
                                                               David Hecht

Email       Fwd: PDV USA        v. 7/1/21       Jeff Feldman   David Rivera    Attorney
            Interamerican                                                      -Client

Email       Re: PDV USA         v. 7/1/21       Lee Boyd       Sarah Wastler, Attorney
            Interamerican                                      Michael        -Client
                                                               Gottlieb,
                                                               Jeffrey Korn,
                                                               Pia Williams
                                                               Keevil     and
                                                               Shira Feldman

Email       Re: PDV USA         v. 6/30/21      Lee Boyd       Sarah Wastler, Attorney
            Interamerican                                      Michael        -Client
                                                               Gottlieb,
                                                               Jeffrey Korn,
                                                               Pia Williams
                                                               Keevil     and
                                                               Shira Feldman




                                       12
  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       Re: PDV USA          v. 6/28/21     Lee Boyd       Sarah Wastler, Attorney
            Interamerican                                      Michael        -Client
                                                               Gottlieb,
                                                               Jeffrey Korn,
                                                               Pia Williams
                                                               Keevil     and
                                                               Shira Feldman

Email       Fwd: PDV USA         v. 7/1/21      Jeff Feldman   David Rivera    Attorney
            Interamerican                                                      -Client

Email       Fwd:     Tweets     and 7/1/21      Jeff Feldman   David Rivera    Attorney
            Sanctions Motion                                                   -Client

Email       Fwd: PDV USA         v. 7/1/21      Jeff Feldman   David Rivera    Attorney
            Interamerican                                                      -Client

Email       Countercliam 2          7/2/21      Jeff Feldman   David Rivera    Attorney
                                                                               -Client

Email       Fwd: PDV USA         v. 7/29/21     Jeff Feldman   David Rivera    Attorney
            Interamerican                                                      -Client

Email       Fwd: PDV USA         v. 7/29/21     Jeff Feldman   David Rivera    Attorney
            Interamerican                                                      -Client

Email       Fwd: Contrato de Cesion 9/27/20     David Rivera   Jeff Feldman    Attorney
            a     Petroleos      de                                            -Client
            Venezuela, S.A. (PDV
            USA – Interamerican
            Consulting)

Email       Fwd:   PDV         USA 8/12/20      David Rivera   Drive056@fiu.   Attorney
            Summons                                            edu             -Client

Email       Re:     FW:    David 6/6/20         David Rivera   Inirida       Attorney
            Rivera/PDV USA, Inc.                               Cervantes and -Client
                                                               Jeff Feldman

Email       Fwd:   PDV         USA 5/13/20      David Rivera   Drive056@fiu.   Attorney
            Summons                                            edu             -Client

Email       RE: Citgo/PDV USA 12/2/20           David Rivera   Jeff Feldman    Attorney
            Assignment Proposals                                               -Client


                                        13
  Type of      Subject Matter       Date of      Author       Addressee(s)   Privilege
 Document                          Document                                  Asserted

Email       PDV          Contract 9/27/20     David Rivera   Jeff Feldman    Attorney
            Assignmnet                                                       -Client

Email       Re: Updated Motions 12/18/20      Shira Feldman Alan    Alvela, Attorney
            and Declaration                                 David Rivera, -Client
                                                            Jeff Feldman
                                                            and Lee Boyd

Email       RE: Updated Motions 12/18/20      Jeff Feldman   Shira Feldman Attorney
            and Declaration                                  and     David -Client
                                                             Rivera

Email       Re: Updated Motions 12/18/20      Shira Feldman Jeff Feldman Attorney
            and Declarations                                and    David -Client
                                                            Rivera

Email       RE: PDV USA, Inc. v. 11/10/20     Inirida        David Rivera Attorney
            Interamerican                     Cervantes      and Lee Boyd -Client
            Consulting    Inc. –
            Conference Call with
            Jeff Feldman

Email       Re: PDV USA, Inc. v. 11/10/20     Lee Boyd       Inirida       Attorney
            Interamerican                                    Cervantes and -Client
            Consulting    Inc. –                             David Rivera
            Conference Call with
            Jeff Feldman

Email       Re: PDV USA, Inc. v. 11/10/20     Lee Boyd       David Rivera Attorney
            Interamerican                                    and     Inirida -Client
            Consulting    Inc. –                             Cervantes
            Conference Call with
            Jeff Feldman

Email       RE: PDV USA, Inc. v. 11/10/20     Inirida        Lee Boyd and Attorney
            Interamerican                     Cervantes      David Rivera -Client
            Consulting    Inc. –
            Conference Call with
            Jeff Feldman




                                     14
  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       Re: PDVSA/PDV USA / 11/27/20        Jeff Feldman   Shira Feldman, Attorney
            Phone Call?                                        David Rivera, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Re:   PDV     Contract 11/27/20     Shira Feldman David Rivera, Attorney
            Assignmnet                                        Jeff Feldman, -Client
                                                              Lee Boyd and
                                                              Alan Alvela

Email       Re:    PDV       USA 11/27/20       Shira Feldman David Rivera, Attorney
            Assignment Email 1                                Jeff Feldman, -Client
                                                              Lee Boyd and
                                                              Alan Alvela

Email       Re: PDVSA/PDV USA / 11/28/20        Lee Boyd       David Rivera, Attorney
            Phone Call?                                        Shira Feldman, -Client
                                                               Jeff Feldman
                                                               and       Alan
                                                               Alvela

Email       Re: PDVSA/PDV USA / 11/30/20        Shira Feldman Lee    Boyd, Attorney
            Phone Call?                                       David Rivera, -Client
                                                              Jeff Feldman
                                                              and      Alan
                                                              Alvela

Email       Re: PDVSA/PDV USA / 11/30/20        Jeff Feldman   Shira Feldman, Attorney
            Phone Call?                                        Lee      Boyd, -Client
                                                               David Rivera,
                                                               Alan    Alvela
                                                               and     Inirdia
                                                               Cervantes

Email       Re:       Interamerican 12/1/20     Shira Feldman David Rivera, Attorney
            Consulting Contract                               Jeff Feldman, -Client
                                                              Lee Boyd and
                                                              Alan Alvela

Email       Re: Citgo/PDV USA 12/2/20           Shira Feldman David Rivera, Attorney
            Assignment Proposals                              Jeff Feldman, -Client
                                                              Lee Boyd and
                                                              Alan Alvela



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  Type of      Subject Matter       Date of      Author       Addressee(s)   Privilege
 Document                          Document                                  Asserted

Email       Re: Certified English 12/2/20     Shira Feldman David,    Jeff Attorney
            Translations                                    Feldman, Lee -Client
                                                            Boyd and Alan
                                                            Alvela

Email       Re: Certified English 12/9/20     Shira Feldman David,    Jeff Attorney
            Translations                                    Feldman, Lee -Client
                                                            Boyd and Alan
                                                            Alvela

Email       Updated Motions and 12/17/20      Alan Alvela    David Rivera, Attorney
            Declaration                                      Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Shira Feldman

Email       Re: Updated Motions 12/18/20      Alan Alvela    David Rivera, Attorney
            and Declaration                                  Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Shira Feldman

Email       Re: PDV USA, Inc. v. 11/9/20      Inirida        David Rivera Attorney
            Interamerican                     Cervantes      and Lee Boyd -Client
            Consulting    Inc. –
            Conference Call with
            Jeff Feldman

Email       Draft MTD brief       9/25/20     Lee Boyd       David Rivera Attorney
                                                             and     Jeff -Client
                                                             Feldman

Email       RE: Draft MTD brief   9/26/20     Jeff Feldman   Lee Boyd and Attorney
                                                             David Rivera -Client

Email       RE: Draft MTD brief   9/27/20     Jeff Feldman   Lee Boyd and Attorney
                                                             David Rivera -Client

Email       Re: Draft MTD brief   9/27/20     Lee Boyd       Jeff Feldman Attorney
                                                             and    David -Client
                                                             Rivera

Email       Re: Revised Draft MTD 9/27/20     Jeff Feldman   Shira Feldman, Attorney
            Letter                                           David Rivera -Client
                                                             and Lee Boyd



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  Type of      Subject Matter        Date of      Author      Addressee(s)   Privilege
 Document                           Document                                 Asserted

Email       Re: Revised Draft MTD 9/27/20      Lee Boyd       David Rivera, Attorney
            Letter                                            Jeff Feldman -Client
                                                              and     Shira
                                                              Feldman

Email       Re: PDV USA Letter 10/6/20         Jeff Feldman   David Rivera Attorney
            Response                                          and Lee Boyd -Client

Email       Fwd: Activity in Case 10/8/20      Lee Boyd       Jeff Feldman Attorney
            1:20-cv-03699-JGK                                 and    David -Client
            PDV USA, Inc. v.                                  Rivera
            Interamerican
            Consulting Inc. Order

Email       FW: Contrato de Cesion 10/9/20     Jeff Feldman   Lee Boyd and Attorney
            a     Petroleos     de                            David Rivera -Client
            Venezuela, S.A. (PDV
            USA – Interamerican
            Consulting)

Email       FW: Documento de 10/9/20           Jeff Feldman   Kathryn (Lee) Attorney
            Cesion – Contrato de                              Boyd       and -Client
            Servicios Profesionales                           David Rivera
            de Consultoria

Email       Re: Documento de 10/9/20           Lee Boyd       David Rivera, Attorney
            Cesion – Contrato de                              Jeff Feldman, -Client
            Servicios Profesionales                           Alan    Alvela
            de Consultoria                                    and      Shira
                                                              Feldman




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  Type of      Subject Matter        Date of      Author       Addressee(s)   Privilege
 Document                           Document                                  Asserted

Email       Re: New filings in PDV 10/13/20    Lee Boyd       David Rivera    Attorney
            USA,        Inc.       v.                                         -Client
            Interamerican
            Consulting         Inc.:
            TRANSCRIPT             of
            Proceedings           re:
            CONFERENCE held on
            10/8/2020 before Judge
            John G. Koeltl. Court
            Reporter/Transcriber:
            Michael       McDaniel,
            (212)         805-0300.
            Transcript    may     be
            viewed at the

Email       Re: PDV USA         v. 10/22/20    Lee Boyd       David Rivera Attorney
            Interamerican                                     and     Jeff -Client
                                                              Feldman

Email       FW: Activity in Case 10/30/20      Lee Boyd       Jeff Feldman Attorney
            1:20-cv-03699-JGK                                 and    David -Client
            PDV USA, Inc. v.                                  Rivera
            Interamerican
            Consulting        Inc.
            Amended Complaint

Email       Re: Activity in Case 10/30/20      Jeff Feldman   Lee Boyd and Attorney
            1:20-cv-JGK PDV USA,                              David Rivera -Client
            Inc. v. Interamerican
            Consulting        Inc.
            Amended Complaint

Email       Re: Activity in Case 11/6/20       Jeff Feldman   Lee Boyd and Attorney
            1:20-cv-JGK PDV USA,                              David Rivera -Client
            Inc. v. Interamerican
            Consulting        Inc.
            Amended Complaint




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  Type of      Subject Matter       Date of      Author       Addressee(s)   Privilege
 Document                          Document                                  Asserted

Email       RE: Activity in Case 11/9/20      Jeff Feldman   Lee Boyd and Attorney
            1:20-cv-03699-JGK                                David Rivera -Client
            PDV USA, Inc. v.
            Interamerican
            Consulting        Inc.
            Amended Complaint

Email       PDV USA, Inc. v. 11/9/20          Inirida        David Rivera Attorney
            Interamerican                     Cervantes      and    Kathryn -Client
            Consulting    Inc. –                             (Lee) Boyd
            Conference Call with
            Jeff Feldman

Email       Re: PDV USA, Inc. v. 11/10/20     David Rivera   Inirida       Attorney
            Interamerican                                    Cervantes and -Client
            Consulting    Inc. –                             Kathryn (Lee)
            Conference Call with                             Boyd
            Jeff Feldman

Email       RE: PDVSA Ad Hoc 11/20/20         David Rivera   Jeff Feldman Attorney
            Board Enabling Statute                           and Lee Boyd -Client

Email       Fwd: PDV     Contract 11/27/20    David Rivera   Shira Feldman, Attorney
            Assignment                                       Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Alan Alvela

Email       PDV USA Assignment 11/27/20       David Rivera   Shira Feldman, Attorney
            Email 1                                          Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Alan Alvela

Email       PDV USA Assignment 11/27/20       David Rivera   Shira Feldman, Attorney
            Email 2                                          Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Alan Alvela

Email       PDV USA Assignment 11/27/20       David Rivera   Shira Feldman, Attorney
            Email 3                                          Jeff Feldman, -Client
                                                             Lee Boyd and
                                                             Alan Alvela




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  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       Re: PDVSA/PDV USA / 11/27/20        David Rivera   Shira Feldman, Attorney
            Phone Call?                                        Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Fwd:      Interamerican 12/1/20     David Rivera   Shira Feldman, Attorney
            Consulting Contract                                Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Ad Hoc Board Power 12/1/20          David Rivera   Shira Feldman, Attorney
            Point      Slide     on                            Jeff Feldman, -Client
            Interamerican Contract                             Lee Boyd and
                                                               Alan Alvela

Email       Citgo/PDV        USA 12/2/20        David Rivera   Shira Feldman, Attorney
            Assignment Proposals                               Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Re: Certified English 12/9/20       David Rivera   Shira Feldman, Attorney
            Translations                                       Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Re: Updated Motions 12/17/20        David Rivera   Alan    Alvela, Attorney
            and Declaration                                    Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Shira Feldman

Email       Re: FYI                 12/18/20    David Rivera   Lee Boyd, Jeff Attorney
                                                               Feldman, Shira -Client
                                                               Feldman and
                                                               Alan Alvela

Email       Re: Updated Motions 12/18/20        David Rivera   Shira Feldman, Attorney
            and Declaration                                    Jeff Feldman, -Client
                                                               Lee Boyd and
                                                               Alan Alvela

Email       Re: Revised Draft MTD 9/27/20       David Rivera   Jeff Feldman, Attorney
            Letter                                             Shira Feldman -Client
                                                               and Lee Boyd



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  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       Re: PDV USA Letter 10/5/20          David Rivera   Lee Boyd and Attorney
            Response                                           Jeff Feldman -Client

Email       Re: Documento de 10/9/20            David Rivera   Lee Boyd and Attorney
            Cesion – Contrato de                               Jeff Feldman -Client
            Servicios Profesionales
            de Consultoria

Email       Re: Documento de 10/9/20            David Rivera   Lee Boyd, Jeff Attorney
            Cesion – Contrato de                               Feldman, Alan -Client
            Servicios Profesionales                            Alvela     and
            de Consultoria                                     Shira Feldman

Email       Fwd: New filings in 10/13/20        David Rivera   Lee Boyd        Attorney
            PDV USA, Inc. v.                                                   -Client
            Interamerican
            Consulting         Inc.:
            TRANSCRIPT             of
            Proceedings           re:
            CONFERENCE held on
            10/8/2020 before Judge
            John G. Koeltl. Court
            Reporter/Transcriber:
            Michael       McDaniel,
            (212)         805-0300.
            Transcript    may     be
            viewed at the

Email       FW: Activity in Case 8/4/21         Lee Boyd       David Rivera    Attorney
            1:20-cv-03699-JGK                                                  -Client
            PDV USA, Inc. v.
            Interamerican
            Consulting Inc. Order on
            Motion for Extension of
            Time to Answer

Email       Re: Chronology      and 9/27/21     Lee Boyd       David   Rivera Attorney
            False Statements                                   and     David -Client
                                                               Hecht

Email       RE: Chronology      and 10/18/21    David Hecht    David Rivera Attorney
            False Statements                                   and Lee Boyd -Client




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  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       FW: Media query for 1/28/21         Lee Boyd       Jeff Feldman Attorney
            Rep. Rivera / PDV USA                              and    David -Client
                                                               Rivera

Email       Re: Response Thoughts   2/4/21      Lee Boyd       David Rivera, Attorney
                                                               Jeff Feldman, -Client
                                                               Shira Feldman
                                                               and       Alan
                                                               Alvela

Email       Re:     US   Sanctions 2/5/21       Lee Boyd       David Rivera Attorney
            defense                                            and     Jeff -Client
                                                               Feldman

Email       Re:     US   Sanctions 2/5/21       Lee Boyd       David Rivera Attorney
            defense                                            and     Jeff -Client
                                                               Feldman

Email       Re: FW: Media query 1/28/21         David Rivera   Lee Boyd and Attorney
            for Rep. Rivera / PDV                              Jeff Feldman -Client
            USA

Email       Wire    Transfer  and 1/29/21       David Rivera   Jeff Feldman, Attorney
            Rescission Documents                               Lee     Boyd, -Client
                                                               Shira Feldman
                                                               and       Alan
                                                               Alvela

Email       Response Thoughts       2/1/21      David Rivera   Lee Boyd, Jeff Attorney
                                                               Feldman, Shira -Client
                                                               Feldman and
                                                               Alan Alvela

Emails      Re:     US   Sanctions 2/5/21       David Rivera   Lee Boyd and Attorney
            defense                                            Jeff Feldman -Client

Email       PDV USA FARA Filing 2/7/21          David Rivera   Lee Boyd, Jeff Attorney
                                                               Feldman, Shira -Client
                                                               Feldman and
                                                               Alan Alvela

Email       Citgo   PDV     USA 8/11/21         David Rivera   Lee Boyd and Attorney
            Amended Complaint                                  Jeff Feldman -Client



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  Type of      Subject Matter        Date of      Author        Addressee(s)   Privilege
 Document                           Document                                   Asserted

Email       RE: Citgo/PDV USA 12/2/20          Jeff Feldman    David Rivera    Attorney
            Assignment Proposals                                               -Client

Email       Re: Activity in Case 11/9/20       Inirida         Jeff Feldman Attorney
            1:20-cv-03699-JGK                  Cervantes       and    David -Client
            PDV USA, Inc. v.                                   Rivera
            Interamerican
            Consulting        Inc.
            Amended Complaint

Email       RE: PDV USA         v. 5/21/20     Louis Fogel     David Rivera    Attorney
            Interamerican                                                      -Client
            Consulting

Email       FW: PDV USA         v. 5/21/20     Lori Evers      David Rivera    Attorney
            Interamerican                                                      -Client

Email       RE: PDV – Confidential 5/19/20     David Rivera    Tucker    Byrd Attorney
            Communication                                      and            -Client
                                                               batista007@gm
                                                               ail.com

Email       Rivera/PDV USA – 5/14/20           Inirida         David Rivera Attorney
            Consulting Agreement               Cervantes       and     Jeff -Client
                                                               Feldman

Email       Re: Rivera/PDV USA – 5/15/20       Lori Evers      David Rivera    Attorney
            Consulting Agreement                                               -Client

Email       RE: PDV USA, Inc. v. 5/18/20       Felix Lasarte   David Rivera    Attorney
            Interamerican                                                      -Client
            Consulting, Inc.

Email       Draft of Letter to 7/22/19         Jeff Feldman    David Rivera    Attorney
            Guillermo Blanco at                                                -Client
            PDV USA Inc. _ 7-22-
            19.pdf

Email       FW: PDV USA, Inc./ 12/20/19        Inirida         David Rivera    Attorney
            Inter-American                     Cervantes                       -Client
            Consulting    Inc.  –                                              and
            Proposed Letter    to                                              Work
            Guillermo Blanco                                                   Product



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  Type of      Subject Matter         Date of      Author        Addressee(s)   Privilege
 Document                            Document                                   Asserted

Email       Fwd: Draft of Letter to 7/22/19     David Rivera    Esther Nuhfer   Attorney
            Guillermo Blanco at                                                 -Client
            PDV USA Inc._7-22-
            19.pdf

Email       Fwd: FW: PDV USA, 12/20/19          David Rivera    Esther Nuhfer   Attorney
            Inc./Inter-American                                                 -Client
            Consulting     Inc.  –
            Proposed Letter     to
            Guillermo Blanco

Email       Citgo: As discussed, do 12/18/18    David Rivera    Jeff Feldman    Attorney
            you have any problem                                                -Client
            with this verbiage?

Email       FW: Inter American 6/17/19          Jeff Feldman    David Rivera    Attorney
            Consulting/PDV USA,                                                 -Client
            Inc.: Draft Retainer
            Letter

Email       Fwd: PDV USA Final 7/19/19          David Rivera    Jeff Feldman    Attorney
            Report.docx                                                         -Client

Email       PDV USA Inc. – 2019 3/11/20         Jeff Feldman    David Rivera    Attorney
            Delaware        Annual                                              -Client
            Franchise Tax Report –
            filed 01_14_20.pdf

Email       Fwd: Board of Directors 1/8/20      David Rivera    Esther Nuhfer   Attorney
            PDV USA, Inc.                                                       -Client

Email       FW:        engagement 8/14/20       Jeff Feldman    David Rivera    Attorney
            agreement and bios                                                  -Client

Email       RE: ALERT: Contact 9/25/20          Howard          David Rivera    Attorney
            Received From Your                  Magaliff                        -Client
            FindLaw Website

Email       RE: ALERT: Contact 9/25/20          Daniel Gildin   David Rivera, Attorney
            Received from Your                                  David Robbins -Client
            FindLaw Website                                     and    David
                                                                Kaufmann




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  Type of      Subject Matter         Date of      Author       Addressee(s)   Privilege
 Document                            Document                                  Asserted

Email       FW: Activity in Case 11/9/20        Jeff Feldman   Inirida       Attorney
            1:20-cv-03699-JGK                                  Cervantes and -Client
            PDV USA, Inc. v.                                   David Rivera
            Interamerican
            Consulting        Inc.
            Amended Complaint

Email       Re: Great Wine          12/25/20    Jeff Feldman   David Rivera Attorney
                                                               and    Susan -Client
                                                               Latham

Email       RE: FARA Counsel        1/28/21     Matthew        David Rivera    Attorney
                                                Sanderson                      -Client

Email       RE: Response Thoughts   2/3/21      Jeff Feldman   David Rivera    Attorney
                                                                               -Client

Email       Wire                    4/20/21     Susan Latham   David Rivera Attorney
                                                               and     Jeff -Client
                                                               Feldman

Email       RE: Draft Counter-claim 8/18/21     Ralph Patino   David Rivera    Attorney
                                                                               -Client

Email       Privileged emails with Beginning    David Rivera   Tucker Byrd, Attorney
            counsel                5/19/20                     Min Cho, Jason -Client
                                   through                     Johnson,
                                   present                     Andrew
                                                               Domingoes and
                                                               Paralegals




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       Dated: March 3, 2022.

                                              /s/ Jason Johnson
                                              Tucker H. Byrd
                                              Florida Bar No. 381632
                                              Min Cho
                                              Florida Bar No. 754331
                                              Jason Johnson
                                              Florida Bar No. 186538
                                              BYRD CAMPBELL, P.A.
                                              180 Park Avenue North, Suite 2A
                                              Winter Park, Florida 32789
                                              Telephone: (407) 392-2285
                                              Facsimile: (407) 392-2286
                                              Primary Email: TByrd@ByrdCampbell.com
                                              Primary Email: MCho@ByrdCampbell.com
                                              Counsel for Defendant/Counter-Plaintiff




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 3, 2022, a copy of the foregoing has been furnished

via electronic mail to all counsel of record as follows:

       Jeffrey B. Korn, Esq.
       WILLKIE FARR & GALLAGHER LLP
       787 Seventh Avenue
       New York, New York 10019
       JKorn@Willkie.com

       Michael J. Gottlieb, Esq.
       Sarah Wastler, Esq.
       WILLKIE FARR & GALLAGHER LLP
       1875 K Street, N.W.
       Washington, D.C. 20006
       MGottlieb@Willkie.com
       SWastler@Willkie.com

                                              /s/ Tucker H. Byrd, Esq.
                                              Tucker H. Byrd




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